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  The Sultzer Law Group, P.C. focuses on consumer class actions and other complex civil
  litigation. The firm is headquartered in Poughkeepsie, New York, and maintains offices in New
  York City, New Jersey, Pennsylvania, and California. Since its founding in 2013, The Sultzer
  Law Group, P.C., has served as lead counsel in numerous high-profile consumer class action
  cases. The firm is included in Martindale- Hubbell's Bar Register of Preeminent Lawyers for its
  class action practice. Jason Sultzer and Joseph Lipari are AV rated by Martindale-Hubbell and
  have been selected as Super Lawyers. In addition, they have both been selected as the American
  Law Media’s Mass Tort Lawyer of the Year. The firm's founding partner, Mr. Sultzer, has
  earned selection as a Fellow of the Litigation Counsel of America (LCA), recognizing the
  country's top trial attorneys. The firm’s attorneys have contributed to or been featured in various
  well known publications regarding their class action practice, including: Law360, Inside
  Counsel Magazine, Risk Management Magazine, and CNBC News. More detail about the firm,
  its practice areas, and its attorneys appear on its website: www.thesultzerlawgroup.com
     I.      Representative Practice Areas

  Consumer Protection Class Action Litigation

  Attorneys at The Sultzer Law Group, P.C. have advocated for consumers’ rights, successfully
  challenging some of the nation’s largest and most powerful corporations for a variety of
  improper, unfair, and deceptive business practices in a wide range of industries including, the
  auto, financial, cosmetic, food, and supplement industries. Through our efforts, we have
  recovered significant benefits for our consumer clients.

  Recent Representative matters include:

     •    Vincent, Wesley, et al. v People Against Dirty, PBC. and Method Products, PBC., (S.D.N.Y.
          7:16-cv-06936) (served as co-lead counsel and obtained a settlement fund of $2.8 million
          on behalf of a national class of consumers who purchased cleaning products deceptively
          marketed as “Natural”)
     •    Run Them Sweet, LLC v. CPA Global, Ltd., et al, (United States District Court Eastern
          District of Virginia 1:16-cv-1347) (obtained a settlement fund of $5.6 million on behalf of
          consumers who were overcharged with respect to foreign patent renewal services)
     •    Rapoport-Hecht, Tziva et al. v. Seventh Generation, Inc. (S.D.N.Y. 14-cv-9087) (served as
          co-lead counsel and obtained a settlement fund of $4.5 million on behalf of a national class
          of consumers who purchased cleaning products deceptively marketed as “Natural”)
     •    Foster, Andrew Tyler et al. v. L-3 Communications EOTECH, Inc., et al. (United States
          District Court Western District of Missouri 15-cv-03519) (obtained millions of dollars in
          monetary relief for consumers who purchased falsely advertised holographic weapons
          sights)
     •    Davenport, Sumner, et al. v. Discover Financial Services, et al. (United States District
          Court for the Northern District of Illinois 15-cv-06052) (served as co-lead counsel and
          obtained a settlement fund of $5.6 million for victims of violations of the Telephone
          Consumer Protection Act)
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     •   Baumgarten v. Cleanwell, LLC, (E.D.N.Y. 1:16-cv-01780) (obtained injunctive relief on
         behalf of a national class of consumers against company that deceptively marked
         cleaning products as “Natural”)
     •   Nicotra, Jennifer et al. v. Babo Botanicals, LLC (E.D.N.Y. 16-cv-00296) (obtained
         injunctive relief on behalf of a national class of consumers against company that
         deceptively marked skin and haircare products as “Natural”)
     •   Mayhew, Tanya, et al., v. KAS Direct, LLC and S.C. Johnson & Son, Inc. (S.D.N.Y. 16-
         cv-6981) (preliminary approval pending for a proposed $2.2 million settlement fund on
         behalf of a national class of consumers who purchased baby products deceptively
         marketed as “Natural”)

  Commercial Litigation

  Attorneys at The Sultzer Law Group, P.C. handle high-stakes commercial cases for both
  plaintiffs and defendants. We specialize in significant liability exposure involving issues such as
  business torts, intellectual property matters in which we have pursued and defended against
  patent and trademark infringement claims, breach of contract, UCC sale of goods, predatory
  lending, misappropriation of trade secrets/customers, fraud, unfair competition, breach of
  fiduciary duty, conversion, business transactions, and land use actions. We have successfully
  represented municipalities as well as companies and individuals in a wide range of industries,
  including real estate, telecommunications, retail, manufacturing, construction, and
  alarm/emergency response systems. As a result of our aggressive representation, we have
  recovered millions of dollars on behalf of clients embroiled in contentious business disputes.

  Recent representative matters include:

     •   Fair Housing Justice Center, Inc., et al., v. Ulster Savings Bank (S.D.N.Y. 16-cv-
         8608/2016)
     •   Federal Trade Commission et al. v. Lifewatch Inc. et al. (U.S. District Court, Northern
         District of Illinois 15-cv-05781)
     •   Life Alert Emergency Response, Inc. v. Lifewatch, Inc., 2:08-cv-02184-CAS (FFMx)
         (C.D. Cal)
     •   Scanner Guard Corporation v. Excelsis Investments, Inc. et al. (EDPA 16-cv-00516)
     •   101 Imaging LLC DBA Acuscan v. Dr. Rossi, MD., P.C. et al. (Nassau County Supreme
         Court 601008/2014)
     •   Asset Enhancement Solutions, LLC v. Lifewatch, Inc. (Nassau County Supreme Court
         601542/2014)
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     •     Brune & Richard LLP v. Daniel Beyda et al. (New York County Supreme Court
           650443/2015)
     •     CDP Holdings Group, LLC v. Daniel Beyda (New York County Supreme Court
           650261/2016)
     •     Craig C. Goldberg v. GA Capital Partners LLC et al. (New York County Supreme Court
           652748/2015)
     •     Daniel Beyda v. Daniel DiPietro et al. (Nassau County Supreme Court 600916/2015)
     •     Dover Madison Capital Management LLC v. Clearwater Systems Corp. et al. (New York
           County Supreme Court 652315/2015)
     •     Eddie Sitt, individually and derivatively and on behalf of Sitt Asset Management LLC and
           Sitt Leasing, LLC v. Ralph Sitt et al. (New York County Supreme Court 652490/2016)
     •     Enterprise Radiology, P.C. d/b/a Washington Heights Imaging v. CDP Holdings Group,
           LLC et al. (Nassau County Supreme Court 601786/2015)
     •     Lease-It Capital Corp. d/b/a Acculease v. I.M.S./Imaging Medical Solutions, Inc. et al.
           (New York County Supreme Court 151316/2015)
     •     Long Island Radiology Associates, P.C. v. Daniel Beyda M.D. et al. (Nassau County
           Supreme Court 602572/2015)
     •     Walker Winslow Group, LLC d/b/a Paradigm Health Plans v. Ross Krasnow, et al. (U.S.
           District Court District of New Jersey 14-cv-7772)

  Mass Tort Litigation

  Attorneys at The Sultzer Law Group, P.C. have successfully defended and prosecuted cases
  involving mass toxic tort cases docketed throughout the United States. Our cases have ranged
  from single- plaintiff, single-defendant, and single-product claims of personal injury to matters
  which involved hundreds of plaintiffs and hundreds of products.

     II.      Partner Biographies

  Jason P. Sultzer

  Jason P. Sultzer is a nationally recognized trial lawyer and the founding partner of The Sultzer
  Law Group P.C. He represents clients throughout the United States in high profile litigations and
  has substantial experience in class actions, mass torts, business disputes, personal injury
  litigation, product liability, and intellectual property-related issues.

  Mr. Sultzer has successfully defended and prosecuted nationally recognized companies in highly
  publicized class action lawsuits in state and federal courts, including proceedings before the
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  Judicial Panel on Multidistrict Litigation. These class actions involved a wide variety of matters,
  including unfair competition, breach of warranty, product-related issues, employment
  discrimination, civil rights, overtime wages, the Fair Debt Collection Practices Act, abusive
  mortgage lending practices, The Telephone Consumer Protection Act, and consumer protection
  statutes of nearly all fifty states. Mr. Sultzer has been appointed as lead counsel in a number of
  class action lawsuits in which he has recovered millions of dollars and obtained injunctive relief
  on behalf of aggrieved consumers nationwide in cases involving fraudulent representations of
  various foods and products.

  Mr. Sultzer is a frequent author and lecturer about class action lawsuits and has been quoted in
  national publications concerning the Class Action Fairness Act and class action settlements.

  Mr. Sultzer also routinely litigates matters involving complex commercial disputes. He
  represents both plaintiffs and defendants in these cases. These matters include contractual
  disputes, business fraud, predatory lending, misappropriation of trade secrets/customers, land use
  actions, breach of fiduciary duty, and unfair competition. These clients have been engaged in the
  real estate, retail, financial, telecommunications, construction, medical and manufacturing
  industries. Most recently, Mr. Sultzer obtained injunctive relief on behalf of one of the largest
  real estate developers in New York City in a multi-million dollar lawsuit involving various
  properties.

  Mr. Sultzer also has successfully litigated hundreds of product liability cases involving a wide
  range of products, including catastrophic injury and wrongful death matters resulting from fires
  and electrocutions. Most recently, Mr. Sultzer conducted a trial in which the court returned a
  favorable verdict in favor of his client, the defendant, in a case involving allegations that his
  client’s product caused a fire and property damage in excess of $10 million.

  Additionally, Mr. Sultzer has extensive experience in mass tort cases, including those involving
  asbestos and the alleged health effects of cell phone use. Given Mr. Sultzer’s significant
  experience in mass tort matters, he regularly advises his clients during corporate crisis situations
  associated with product recalls, federal agency investigations, state attorney general inquiries,
  and mass tort and class action litigation threats.

  Mr. Sultzer also represents individual plaintiffs in catastrophic personal injury cases. Most
  recently, on the eve of trial, Mr. Sultzer obtained over $2.5 million on behalf of his client who
  was severely injured in an auto-related accident.

  Prior to opening The Sultzer Law Group P.C., Mr. Sultzer was the youngest equity partner at one
  of the largest law firms in the country where he served as the co-chairman of its class action
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  practice group. Earlier in his career, Mr. Sultzer was in-house counsel for Owens Corning, a
  Fortune 500 Company, where he was involved in defending the company against tens of
  thousands of asbestos lawsuits throughout the country.

  Mr. Sultzer has received the Martindale-Hubbell AV rating, indicating that his legal peers rank
  him at the highest level of professional excellence. He was also named as a “Mass Tort Lawyer
  of the Year” by American Law Media, and has been recognized as a Super Lawyer for the last 8
  years. Mr. Sultzer, was also featured on the front cover of the Wall Street Journal's Legal
  Leader's magazine in 2014 and 2015 designating him as one of New York's top rated lawyers. In
  addition, Mr. Sultzer has earned selection as a Fellow of the Litigation Counsel of
  America (LCA), recognizing the country's top trial attorneys. The LCA is an invitation-only
  honorary society that is composed of less than one-half of one percent of American lawyers.

  Adam Gonnelli

  Mr. Gonnelli is a partner at The Sultzer Law Group, P.C. Throughout his career, Mr. Gonnelli
  has served as lead or co-lead counsel in numerous high-profile class action cases throughout the
  country resulting in multi-million dollar recoveries to consumers, employees, and investors. Mr.
  Gonnelli concentrates his practice on consumer fraud class actions, wage and hour litigation, and
  transactional/commercial litigation. Some of his representative cases include Guttentag v. Ruby
  Tuesday ($3 million recovery for employees in FLSA wage suit); In re NutraQuest, Inc., No. 06-
  202 (D.N.J.) (consumer fraud case against national diet supplement company); Wanzo v. Nextel
  Commc’ns, Inc., No. GIC 791626 (Cal. Sup. Ct.) (consumer case challenging change in “nights
  and weekends” plan); Rice v. Lafarge North America, No. 268974 (Md. Cir. Ct.) (merger case
  resulted in a benefit of $388 million); and In re Fox Entm’t Group, Inc. S’holders Litig., No.
  1033-N (Del. Ch. 2005) (benefit to shareholders of $450 million); Foster v. L-3 Communications
  EOTECH, Inc. (United States District Court Western District of Missouri 15-cv-03519)
  (obtained monetary recovery for consumers who purchased falsely advertised holographic
  weapons sights); and Run Them Sweet, LLC v. CPA Global Limited, et al. (United States District
  Court Eastern District of Virginia 16-cv-1347) (obtained a settlement fund of $5,600,000 for
  consumers who were overcharged with respect to foreign patent renewal services).

  While attending Cornell Law School, Mr. Gonnelli served as Editor-in-Chief of the Cornell
  Journal of Law and Public Policy and was a member of the Atlantic Regional Championship
  moot court team in the Jessup International Law Moot Court Competition (1997). At Rutgers
  University, Mr. Gonnelli lettered in football and fencing and served as Student Government
  President.

  Prior to joining The Sultzer Law Group, Mr. Gonnelli was a partner at a national plaintiff class
  action law firm where he served as the chairman of its Wage Theft Practice Group. Before
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  attending Law School, Mr. Gonnelli was a Financial Writer at the Federal Reserve Bank of New
  York, where he wrote educational materials on international trade and monetary policy.

  Joseph Lipari

  Joseph Lipari has litigated in state and federal courts throughout the United States, and he has
  appeared before binding arbitration panels. Mr. Lipari has achieved numerous successful
  outcomes as counsel for plaintiffs and defendants, including verdicts and settlements.

  He has successfully represented businesses in complex suits arising out of high-profile,
  catastrophic events including: underground mining accidents in Alabama; steel mill explosions
  in Pennsylvania and Louisiana; and extended unplanned shutdowns and outages in mills, plants,
  and factories located across the United States and abroad.

  Mr. Lipari was featured in Law360 for a verdict which he obtained on behalf of defendant in a
  jury trial in Louisiana. Defendant held not liable for a $2.6 million wrongful death award
  following a deadly molten steel eruption allegedly linked to equipment designed by the
  company’s predecessor. Moyer v. Siemens VAI Services and Signal Metal Industries, Inc., No.
  2:11-cv-03185 (U.S. District Court for the Eastern District of Louisiana).

  Mr. Lipari has also been involved in creating significant caselaw regarding the use of the term
  “Natural” in product labeling and advertising. See, e.g., Silva, Christopher et al. v. Smucker
  Natural Foods, Inc. and J.M. Smucker Co., 14-cv-6154 (EDNY); Sitt v. Nature's Bounty, Inc. et
  al., 15-cv-04199 (SDNY).

  He is admitted to the bars of New York, Pennsylvania, and New Jersey. He has also appeared as
  counsel, by way of pro hac vice admission, in over twenty states. Mr. Lipari has lectured and
  published on topics including trial strategy, patent disputes, hydrofracking in the Marcellus
  Shale, and risk management practices.

  Mr. Lipari is a 2002 graduate of Seton Hall University School of Law. Before law school, he
  attended Officer Candidate School in Quantico, Virginia and was offered a commission as
  Second Lieutenant in the United States Marine Corps.

  Prior to joining The Sultzer Law Group P.C., Mr. Lipari was a partner at a prominent national
  litigation firm. Earlier in his career, he was associated with one of the largest law firms in the
  country.

  Mr. Lipari has received the Martindale-Hubbell AV rating, indicating that his legal peers rank
  him at the highest level of professional excellence. He was also named as a “Mass Tort Lawyer
  of the Year” by American Law Media, and has been recognized as a Super Lawyer.
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     III.    Associate Biographies


  Jeremy Francis

  Mr. Francis is an associate at The Sultzer Law Group. His practice focuses on commercial
  litigation and consumer class actions.

  Prior to joining The Sultzer Law Group P.C., Mr. Francis was an Assistant District Attorney in
  the Kings County District Attorney’s Office, where he prosecuted misdemeanor and felony
  cases, including driving while intoxicated, narcotics, gun possession, and assault. He tried close
  to a dozen cases and secured guilty verdicts in Kings County Criminal Court. Subsequently, Mr.
  Francis was associated with a firm specializing in traumatic brain injury cases.

  Mr. Francis interned for the Honorable Kiyo A. Matsumoto in the Eastern District of New York
  and gained experience drafting opinions concerning a wide range of federal issues. As an intern
  for the United States Attorney’s Office in the Eastern District of New York, he played an integral
  role in securing convictions in a RICO murder re-trial involving complex issues of expert
  testimony admissibility.

  Mr. Francis attended Yale University, where he graduated with honors in Political Science. He is
  a 2011 graduate of Vanderbilt University Law School, where he was an Articles Editor of the
  Vanderbilt Journal of Entertainment and Technology Law. His article, “The Kindle Controversy:
  An Economic Analysis of How the Amazon Kindle’s Text-to-Speech Feature Violates Copyright
  Law” was published in the Fall of 2011.
